Case 1:20-cr-00342-SEB-MJD Document 43 Filed 05/25/22 Page 1 of 3 PageID #: 225




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
        v.                                     )       Cause No. 1:20-cr-00342-SEB-MJD
                                               )
 DORIAN LACOURSE,                              )
                                               )
               Defendant.                      )


                       GOVERNMENT’S SENTENCING MEMORANDUM

                                           Introduction

        By this pleading, the government is outlining what it asserts are the critical factors for the

 Court’s consideration in determining the appropriate sentence to impose on Defendant Dorian

 LaCourse. The evidence and argument regarding these factors will be addressed in detail at the

 sentencing hearing. Additionally, the government will define the significance of the exhibits

 attached hereto at that time. Following its presentation, the government will seek a sentence of

 imprisonment of 70 months, which is appropriate to the Defendant’s criminal conduct.

                        The History and Characteristics of the Defendant

        In this case, the nature and circumstances of the offense are explanatory in defining the

 history and characteristics of the Defendant. Accordingly, the government will focus on the

 essential components of the nature and circumstances of the offense in this pleading and will

 address the traditional components of the history and characteristics of the Defendant at the

 sentencing hearing.
Case 1:20-cr-00342-SEB-MJD Document 43 Filed 05/25/22 Page 2 of 3 PageID #: 226




                            Nature and Circumstances of the Offense

        Nothing speaks more clearly to the depth of this Defendant’s criminal culpability in this

 matter than the nature and circumstances of the offenses committed by him. The specific factors

 in this regard for the Court’s consideration and which the government will explain at the sentencing

 hearing are:

        1. Abuse of Position of Public Trust

        2. Number of Instances of the Offense

        3. Longevity of the Offense

        4. Manner and Means of the Execution of the Offense

        5. Lack of Mitigation and Extenuation

        6. Motivation for Offense

        7. Impact of Offense

        Based on all of these factors, the government will advocate a sentence of incarceration of

 70 months, which it believes is essential to satisfy the purposes of sentencing as defined by

 Congress in 18 U.S.C. § 3553(a).


                                                      Respectfully submitted,


                                                      ZACHARY A. MYERS
                                                      United States Attorney

                                               By:    s/ James M. Warden
                                                      James M. Warden
                                                      Assistant United States Attorney

                                               By:    s/ William L. McCoskey
                                                      William L. McCoskey
                                                      Assistant United States Attorney




                                                  2
Case 1:20-cr-00342-SEB-MJD Document 43 Filed 05/25/22 Page 3 of 3 PageID #: 227




                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 25, 2022 a copy of the foregoing Government’s Sentencing

 Memorandum was filed electronically. Notice of this filing will be sent to all ECF-registered

 counsel of record via email generated by the Court’s ECF system. Parties may access this filing

 through the Court’s system.


                                             By:     s/ James M. Warden
                                                     James M. Warden
                                                     Assistant United States Attorney




                                                3
